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            EXHIBIT 5
          to the Declaration of Qifan Huang
        PUBLIC VERSION - REDACTED
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                                                                          Page 1
                 UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF CALIFORNIA
                            ---oOo---


MARIA SCHNEIDER, UNIGLOBE
ENTERTAINMENT, LLC, and
AST PUBLISHING LTD.,
individually and on behalf
of all others similarly
situated,

                  Plaintiffs,
vs.                                    Case No. 3:20-cv-04423-JD
YOUTUBE, LLC; and GOOGLE
LLC,

             Defendants.
__________________________/


             HIGHLY CONFIDENTIAL PURSUANT TO
                     THE PROTECTIVE ORDER


30(b)(6) VIDEOTAPED DEPOSITION OF YOUTUBE BY AND
            THROUGH THEIR CORPORATE DESIGNEE,
                  FABIO MAGAGNA, Ph.D.
                 TUESDAY, JULY 5, 2022




STENOGRAPHICALLY REPORTED BY:
CINDY A. HAYDEN, RMR-CRR
JOB NO. 848073
               Case 3:20-cv-04423-JD Document 301-11 Filed 04/07/23 Page 3 of 10

                                                           Page 2                                                 Page 4
 1          UNITED STATES DISTRICT COURT                             1               INDEX
 2          NORTHERN DISTRICT OF CALIFORNIA                          2                       PAGE
 3              ---oOo---
 4
                                                                     3   EXAMINATION BY MS. O'KEEFE                       6
 5   MARIA SCHNEIDER, UNIGLOBE                                       4   EXAMINATION BY MR. RICHLIN                       96
     ENTERTAINMENT, LLC, and                                         5
 6   AST PUBLISHING LTD.,                                            6             EXHIBITS
     individually and on behalf                                      7
 7   of all others similarly                                         8   NUMBER           DESCRIPTION             PAGE
     situated,
 8                                                                   9
             Plaintiffs,                                                 DEFENDANT'S Excel Spreadsheet,              97
 9                                                                  10   EXHIBIT 1 GOOG-SCHNDR-00040616
     vs.                                                            11   EXHIBIT 159 Content Owner Guide, Bates        49
10               Case No. 3:20-cv-04423-JD                                     GOOG-SCHNDR-00038834-862
11   YOUTUBE, LLC; and GOOGLE                                       12
     LLC,
12                                                                  13
            Defendants.                                             14
13   __________________________                                     15
14                                                                  16
15       Remote Videotaped Deposition of Fabio                      17
16   Magagna, Ph.D., taken on behalf of the Plaintiffs,
17   on Tuesday, July 5, 2022, beginning 10:00 a.m., and
                                                                    18
18   ending at 12:38 p.m., pursuant to Notice, and                  19
19   before me, Cindy A. Hayden, RMR-CRR.                           20
20                                                                  21
21                                                                  22
22                                                                  23
23
24                                                                  24
25                                                                  25

                                                           Page 3                                                 Page 5
 1     A P P E A R A N C E S:                                        1             PROCEEDINGS
 2                                                                   2                  ***
 3         COUNSEL FOR PLAINTIFFS:                                   3           THE VIDEOGRAPHER: We are now on the
 4                                                                   4   record. This begins Videotape Number 1 in the
 5           KOREIN TILLERY, LLC                                     5   deposition of Fabio Magagna in the matter of Maria
 6           BY: CAROL O’KEEFE, Esq.                                 6   Schneider v. YouTube, LLC. Today is July 5th,
 7           505 North 7th Street, Suite 3600                        7   2022, and the time is 10 a.m.
 8           St. Louis, Missouri 63101                               8           This deposition is being taken
 9           Telephone: (314) 241-4844                               9   virtually at the request of Boies Schiller
10           cokeefe@koreintillery.com                              10   Flexner LLP. The videographer is Richard Loftus of
11                                                                  11   Magna Legal Services, and the court reporter is
12         COUNSEL FOR THE DEFENDANTS:                              12   Cindy Hayden.
13           WILSON SONSINI GOODRICH & ROSATI                       13           Will counsel and all parties
14           BY: ELI B. RICHLIN, Esq.                               14   present state their appearances and whom they
15           1301 Avenue of the Americas, 40th Floor                15   represent.
16           New York, New York 10019-6022                          16           MS. O'KEEFE: Carol O'Keefe of
17           (212) 999.5800                                         17   Korein Tillery on behalf of the plaintiffs.
18           erichlin@wsgr.com                                      18           MR. RICHLIN: Eli Richlin,
19                                                                  19   Wilson Sonsini Goodrich & Rosati, on behalf of
20         ALSO PRESENT: Richard Loftus, Videographer               20   defendants and the witness. And I'm also being
21               Matthew Gubiotti, Google                           21   joined by Matt Gubiotti, who is in-house counsel
22                                                                  22   for Google.
23                         ---oOo---                                23           THE WITNESS: I'm Fabio Magagna for
24                                                                  24   Google, representing YouTube.
25                                                                  25           THE VIDEOGRAPHER: Will the court


                                                                                              2 (Pages 2 to 5)
           Case 3:20-cv-04423-JD Document 301-11 Filed 04/07/23 Page 4 of 10

                                               Page 6                                                     Page 8
 1   reporter please swear in the witness.                  1        Q. Okay. And do any of your teams utilize
 2                  ***                                     2   the YouTube Developer's Handbook?
 3             FABIO MAGAGNA, Ph.D.,                        3           MR. RICHLIN: Same objection.
 4   testifying under penalty of perjury, was examined      4           You can answer.
 5            and testified as follows:                     5           THE WITNESS: Can you say it again, the
 6                  ***                                     6   name of the document, please?
 7                EXAMINATION                               7   BY MS. O'KEEFE:
 8   BY MS. O'KEEFE:                                        8        Q. The YouTube Developer's Handbook.
 9        Q. Good morning, Mr. Magagna.                     9        A. I'm not aware of that. I don't know.
10        A. Good morning.                                 10        Q. So my understanding is that the
11        Q. Do you understand that you are                11   copyright management suite tool offers a variety of
12   representing YouTube here today and testifying on     12   processes for identifying potentially infringing
13   behalf of the corporation?                            13   videos; is that correct?
14        A. I do.                                         14           MR. RICHLIN: Objection to form.
15        Q. Okay. And what is your position at            15   Objection to scope.
16   YouTube?                                              16           You can answer.
17        A. I'm the product manager in the area of        17           THE WITNESS: That's -- that's
18   copyright.                                            18   incorrect.
19        Q. And are you a software engineer as            19   BY MS. O'KEEFE:
20   well?                                                 20        Q. Okay. Please tell me what CMS offers.
21        A. No.                                           21        A. CMS has, actually, two functionality.
22        Q. Okay. Are you trained as a software           22   I think it's manage larger corporations to manage
23   engineer?                                             23   the contents on the platform, like larger in sense
24        A. I am not trained as -- in Google as a         24   of scale of content. And the second one is, CMS is
25   software engineer.                                    25   the home of Content ID.

                                               Page 7                                                     Page 9
 1        Q. Do you have education in coding and            1             THE REPORTER: Is the home of what,
 2   developing software?                                   2   please?
 3        A. I have a -- master's degrees in                3           THE WITNESS: Content ID.
 4   information technology and electrical engineering      4   BY MS. O'KEEFE:
 5   with -- which is somehow related to software           5        Q. So Content ID encompasses Content ID
 6   engineering.                                           6   automatic claiming, Content ID safe mode,
 7        Q. Okay. What team do you lead at                 7   Content ID search and copyright match, correct?
 8   YouTube?                                               8           MR. RICHLIN: Objection to form.
 9           MR. RICHLIN: Objection to form.                9           You can answer.
10           You can answer.                               10           THE WITNESS: So copyright match tool
11           THE WITNESS: Do you mean at the moment        11   is not accessed in CMS. I think that's the first
12   or from the time we are discussing?                   12   mistake. Then you said three other things. Can
13   BY MS. O'KEEFE:                                       13   you please repeat them one more time? You said
14        Q. At the moment.                                14   safe mode? What was the second one?
15        A. At the moment, I'm responsible for the        15   BY MS. O'KEEFE:
16   copyright enforcement teams, like engineering teams   16        Q. Content ID safe mode.
17   or product teams, and what we call creator            17        A. That's -- that's a type of Content ID,
18   reputation, which is another area.                    18   which can be accessed through CMS.
19        Q. Do any of your teams utilize a resource       19        Q. Okay. And then Content ID automatic
20   known as the "Knowledge Base," or "KB"?               20   claiming?
21           MR. RICHLIN: Objection to form. Also,         21        A. That's also -- the -- yeah, the outcome
22   objection to scope.                                   22   will be accessed through CMS.
23           You can answer.                               23        Q. And then Content ID search?
24           THE WITNESS: Yes, I think they do.            24        A. Are you referring to manual claiming
25   BY MS. O'KEEFE:                                       25   here or --

                                                                                      3 (Pages 6 to 9)
           Case 3:20-cv-04423-JD Document 301-11 Filed 04/07/23 Page 5 of 10

                                               Page 74                                                     Page 76
 1           THE WITNESS: So in the copyright match           1   BY MS. O'KEEFE:
 2   tool, we serve -- so the goal is to find copies of       2         Q. Is --
 3   your video. I think that's important for the             3         A. I --
 4   context.                                                 4         Q. Are the --
 5           So the parameter -- the match parameter          5         A. Do you want me to continue?
 6   we use is -- if I recall it correctly, is                6         Q. Please.
 7                       , or we call it "        " which     7         A. I think there's -- there's also some
 8   means a use of video has to consist at least             8   rule about if the video from, for example,
 9               of the source videos. But that can also      9   somebody -- the partner program has received a
10   consist more.                                           10   visual claim -- if you can imagine, if a video from
11           So they can -- for example, if they do          11   the partner program received a visual claim, we --
12   a compilation and use the fuller length of my video     12   don't want to show reupload of those videos to the
13   and a full length of somebody else's video, that        13   person in the partner program.
14   would be still within the parameter.                    14         Q. Okay. For -- are the matching
15   BY MS. O'KEEFE:                                         15   parameters for the copyright match tool the same
16        Q. And just to be clear, the                       16   for videos that are uploaded by YouTube partners
17   parameter means that the potentially infringing         17   and for people who have successfully filed a DMCA
18   video -- at least               of the potentially      18   takedown notice?
19   infringing video consists of the copyright match        19            MR. RICHLIN: Objection to form.
20   user's source video; is that correct?                   20   Objection to scope.
21           MR. RICHLIN: Objection to form.                 21            THE WITNESS: They should be the same.
22   Objection to scope.                                     22   Let me just think about that. So I think -- yeah,
23           THE WITNESS: I -- I would say the --            23   they -- they -- I think there's probably one --
24   the user video contains                 of the source   24   I -- I hear myself in a echo -- echo. It stopped.
25   video. This is how I would say it.                      25            So they should be the same. It could

                                               Page 75                                                     Page 77
 1   BY MS. O'KEEFE:                                          1   be that there is some misalignment through
 2        Q. Oh, okay. I understand. Thank you.               2   implementation and engineering work. But the
 3            Are there any other parameters for              3   parameter used for, let's say, a visual match or an
 4   matching and copyright match?                            4   audiovisual match, which is served or not served,
 5        A. There --                                         5   should be the same.
 6            MR. RICHLIN: Objection to form.                 6   BY MS. O'KEEFE:
 7   Objection to scope.                                      7        Q. Okay. How does YouTube determine that
 8            You can answer.                                 8   a YouTube partner's upload is the first upload of
 9            THE WITNESS: It's -- there are -- I             9   that work? How do you determine if they are the
10   think that's the most important one. There are          10   first-in-time uploader of a specific work?
11   more -- there are definitely more. It's not that        11           MR. RICHLIN: Objection to form.
12   simple. It's a very complex product. But I think        12   Objection to scope.
13   that's the most important ones.                         13           THE WITNESS: I think there's an
14   BY MS. O'KEEFE:                                         14   internal product called Content Age which we use
15        Q. Okay. What other parameters are there           15   for that.
16   that you're aware of?                                   16   BY MS. O'KEEFE:
17            MR. RICHLIN: Objection to form.                17        Q. And what does Content Age do?
18   Objection to scope.                                     18           MR. RICHLIN: Objection to scope.
19            THE WITNESS: I'm -- I'm aware of               19           THE WITNESS: Content Age gives you the
20   that -- for content, that -- you know, for certain      20   age of the content. Means the age in this context
21   content match, that works well. For example, for        21   about when we are first seeing on the platform.
22   gaming, game plays looks all very similar for us.       22   BY MS. O'KEEFE:
23   So there's a lot of false positive matches in it.       23        Q. And what does the Content Age need to
24   So I'm aware of that there is a special rule for        24   be in order for work to qualify as a new upload
25   gaming.                                                 25   that is eligible for content -- copyright match

                                                                                  20 (Pages 74 to 77)
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                                             Page 78                                                     Page 80
 1   tool?                                                 1   reference is delivered late, it can looks it up
 2           MR. RICHLIN: Objection to form.               2   against a special index. And it also matches then
 3   Objection to scope.                                   3   a process from the claim function, and if there is
 4           THE WITNESS: So I think your question         4   the claim or we want to create the claim, the claim
 5   was, what -- what Content Age has to say that we      5   is created. So it's a very simplified way how it
 6   would consider a partner program video as the         6   works.
 7   source, right? That's the question you asked?         7   BY MS. O'KEEFE:
 8   BY MS. O'KEEFE:                                       8
 9        Q. Yes, that is the question.                    9
10        A. So Content Age has to tell us that the       10
11   majority of the video is new to the platform.        11
12        Q. And what do you mean by "the majority        12
13   of the video"?                                       13
14        A. It's --                                      14
15           MR. RICHLIN: Objection to form.              15
16   Objection to scope.                                  16
17           THE WITNESS: It's a percentage number        17
18   of -- the Content Age, there's -- there's a          18
19   percentage. I don't know the technical details.      19
20   But if you -- you know, you could imagine that you   20
21   do a video of 10 minutes. And then you have 5        21
22   seconds of visual footage, which is public domain,   22
23   which we have all over on the platform. And this     23
24   video, you know, you would upload, it would still    24
25   considering as -- the Content Age as a fraction of   25

                                             Page 79                                                     Page 81
 1   the video. And, therefore, there is a certain         1
 2   filter about percentages in it. And I don't know      2
 3   the exact number.                                     3
 4            MS. O'KEEFE: Okay. I'm going to ask          4
 5   to go off the record and take a quick break.          5
 6            MR. RICHLIN: Fine by me.                     6
 7            THE VIDEOGRAPHER: Okay. Off the              7
 8   record, 11:53 a.m.                                    8
 9                   ***                                   9
10            (Whereupon, there was a recess in the       10
11   proceedings from 11:53 a.m. to 12:03 p.m.)           11
12                   ***                                  12
13   BY MS. O'KEEFE:                                      13
14        Q. Mr. Magagna, what is instant claiming?       14
15        A. Instant claiming is -- it's a system in      15
16   the Content ID world.                                16
17        Q. And what does instant claiming do?           17
18        A. It creates legacy claims.                    18
19        Q. And how does instant claiming run the        19
20   legacy scan?                                         20
21            MR. RICHLIN: Objection to form.             21
22   Objection to scope.                                  22
23            You can answer.                             23
24            THE WITNESS: It's -- so when you say        24
25   "what," you mean -- so what it does, it's -- if a    25

                                                                               21 (Pages 78 to 81)
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Witness: Fabio Magagna — July 5, 2022 Rule 30(b)(6) Deposition
Schneider v. YouTube, LLC, No. 3:20-cv-04423-JD (N.D. Cal.)




                                       Errata Sheet




                Replace <somehow> with <somewhat>              To clarify the record

                Replace <functionality> with                   To correct transcription errors
                <functionalities>

                Replace <copyright match tool> with            To correct transcription errors
                <Copyright Match Tool>

                Replace <billions> with <billion>

                Replace <billions> with <billion>

                Replace <external> with <externally>

                Replace <base> with <basis>

                Replace <partner> with <partners>

                Replace <partner> with <partners>

                Replace <third> with <fourth>

                Replace <internal> with <internally>

                Replace <content verification program> with | To correct transcription errors
                <Content Verification Program>

                Replace <content verification program> with | To correct transcription errors
                <Content Verification Program>

                Replace <copyright match tool> with              To correct transcription errors
                <Copyright Match Tool>

                Replace <use> with <uses>                        To correct transcription errors

                Replace <show> with <shows>                      To correct transcription errors

                Replace <could not always be> with <isnot    | To clarify the record
                always>

                Replace <not always could be> with <isnot    | To clarify the record
                always>

                Remove <be> before <true>                        To clarify the record
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                Replace <right service> with <rights            To correct transcription errors
                holders>

                Replace <engineer> with <engineers>              To correct transcription errors

                Replace <about> with <on>                        To clarify the record

                Replace <slightly> with <likely>                 To correct transcription errors

                Replace <ambiguous> with <unambiguous>        | To clarify the record

                Replace <It could take> with <I could            To correct transcription errors
                check>

                Replace <broad cuts> with <broadcasters>      | To correct transcription errors

                 Replace <internal> with <internally>            To correct transcription errors

                 Replace <detail> with <detailed>                To correct transcription errors

                 Replace <details> with <detailed>               To correct transcription errors

                 Replace <context> with <in the context of>   | To correct transcription errors

                 Replace <for> with <fair>                       To correct transcription errors

                 Replace <behavior> with <behaviors>             To correct transcription errors

                 Replace <of> with <on>                          To correct transcription errors

                 Replace <a claim> with <on the item             To clarify the record
                 “claim”>

                 Replace <copyright match tool> with             To correct transcription errors
                 <Copyright Match Tool>

                 Replace <YouTube partner program> with          To correct transcription errors
                 <YouTube Partner Program>

                 Replace <copyright match tool> with             To correct transcription errors
                 <Copyright Match Tool>

                 Replace <copyright match tool> with             To correct transcription errors
                 <Copyright Match Tool>

                 Replace <fuller> with <full>                    To correct transcription errors

                 Replace <match, that works well> to <,          To clarify the record
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                      matching does not work well>                               A

                      Replace <partner program> with <Partner                    To correct transcription errors
                      Program>

                      Replace answer with <There are minor                       While question was beyond
                      variations in the thresholds.>                             the scope of the noticed topics,
                                                                                 witness confirmed the answer
                                                                                 with engineers following
                                                                                 deposition

                      Replace <partner program> with <Partner                    To correct transcription errors
                      Program>

                      Replace <partner program> with <Partner                    To correct transcription errors
                      Program>

                      Replace <looks> with <look>                                To correct transcription errors

                      Replace <it also matches then a process from | To correct transcription errors
                      the claim function> with <those matches
                      then are processed by the claim function>

805               |    Insert <of> between <way> and <how>                       To correct transcription errors

8013                   Replace <reference> with <references>                     To correct transcription errors

En                     Insert <a> between <was> and <hundred>                    To correct transcription errors

                       Replace <writes claims about> with <like                  To correct transcription errors
                       claimants with>

                       Replace <unlike> with <as like>                           To correct transcription errors

                       Replace <into> with <as to>                               To correct transcription errors




      x                    Subject to the above changes, I certify that the transcript is true and correct.

                           No changes have been made. I certify that the transcript is true and correct.


          \                                                              ~                J   ~      J   a       -
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                      (       nat   —                                        /    )           LK g       CL
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                                                                                      1                      —
                      WW                                                                             * (date)
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                             ACKNOWLEDGMENT          OF DEPONENT

         I, Fabio Magagna, do hereby certify that I have read and examined the foregoing

testimony, and that the same is a correct transcription of the answers given by me to the

questions therein propounded, except for the corrections or changes in form or substance, if

any, noted in the attached Errata Sheet.



     3       [1                                                29los/
                                                                 [05]         20
                                                                              CTCL
                  I                                                         (date)
